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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

 JOSHUA LENZ, ET AL., individually and on behalf
 of all others similarly situated,

          Plaintiffs,                                             No. 8:19-cv-02950-JSM-AEP

 v.

 THE MICHAELS ORGANIZATION, LLC,
 MICHAELS MANAGEMENT SERVICES,
 INC., INTERSTATE REALTY MANAGEMENT
 COMPANY, INC., AMC EAST COMMUNITIES,
 and CLARK MACDILL DESIGN BUILD, LLC,
       Defendants.
 ____________________________________________

                                    JOINT STATUS REPORT

          Pursuant to the Court’s September 2, 2021 Order (Doc. 109), Plaintiffs, Joshua Lenz, Traci

 Lenz, Jason Norquist, Amie Norquist, Ryan Morgan, Erica Morgan, Gary Elbon, Kayla Elbon,

 Jason Genrich, and Jenny Genrich (collectively, “Plaintiffs”); Defendants The Michaels

 Organization, LLC, Michaels Management Services, Inc., and, Interstate Realty Management

 Company, Inc. (collectively, the “Michaels Defendants”); Defendant AMC East Communities,

 LLC, (“AMC”), and Defendant Clark MacDill Design Build, LLC (“Clark, and, together with the

 Michaels Defendants and AMC, “Defendants”) (Plaintiffs and Defendants are collectively referred

 to as “Parties”), by and through their respective undersigned counsel, respectfully submit this Joint

 Status Report detailing the progress of discovery.

 Acquisition by The Michaels Organization and Change of Counsel

          On September 7, 2021, Defendant The Michaels Organization, LLC (“TMO”) announced

 that it had completed the acquisition of privatized military homes at eight military installations

 around the country, including the homes on MacDill Air Force Base that are at issue in this Action.




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         As a result of the acquisition, the Michaels Defendants decided to change their counsel

 from the Gordon Rees firm, which currently represents the three Michaels Defendants, to the

 Lewis Brisbois firm, which currently represents AMC and Clark. Lewis Brisbois filed its Notice

 of Appearance on behalf of all Defendants on October 14, 2021. Doc. 111. Although Lewis

 Brisbois has been counsel of record for some of the Defendants, the recent change in counsel for

 the Michaels Defendants will have some impact on the schedule for discovery going forward.

 Status of Specific Discovery

     1. U.S. Air Force Subpoena and Production

         The Court granted Plaintiffs’ motion to issue a subpoena to the United States Air Force

 (“USAF”) on March 4, 2021. Doc. 76. Counsel for the USAF are still working with the Department

 of Defense on security procedures for the transfer and hosting of the documents the USAF will

 eventually produce. Once these details are finalized, Plaintiffs will be able to present to the Court the

 proposed protective order that the USAF requires for production.

         The USAF has represented to Plaintiffs that the USAF has already collected and is in the

 process of completing its review for production of responsive documents, but nothing has been

 produced by the USAF to date. It is expected that the USAF production will include a large volume

 of new records that the Parties will need to process and review once received.

         The USAF has notified the Parties that it does not have the resources reasonably available to

 produce documents in accordance with the Court’s Order that the Air Force “redact the names of any

 other residents of the Residences beyond the identified named plaintiffs.” Doc. 76. The USAF has

 advised that “[g]iven [its] available software this is a time consuming and burdensome process,” and

 its office ordinarily “relies on a protective order to avoid such efforts and expedite [its] productions.”

 Plaintiffs intend to request that, subject to the entry of an appropriate protective order, the Court



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 relieve the USAF of this requirement. However, Defendants oppose Plaintiffs’ position and would

 request that the USAF produce the documents directly to counsel for Defendants or its ESI vendor

 KL Discovery, so that redactions can be made pursuant to the Court’s prior instruction regarding

 redactions. If the Parties are unable to reach a prompt agreement, the Parties intend to present the

 issue to the Court by motion practice.

    2. Michaels Defendants’ Document Production

        Counsel for Plaintiffs met and conferred with counsel for the Michaels Defendants

 concerning certain categories of documents sought by Plaintiffs (in addition to the completion of

 the Michaels Defendants’ ESI production). The Michaels Defendants, through their prior counsel,

 advised that they would produce, with some modification, the requested categories of documents.

         However, as new counsel for the Michaels Defendants, Lewis Brisbois seeks to review the

 requests for these categories of documents and reserved further objections and restrictions to same

 as needed or required. Plaintiffs do not believe such additional objections or restrictions are proper

 as prior counsel for Michaels previously agreed to the production. If the Parties are unable to reach

 a prompt agreement, the Parties intend to present the issue to the Court by motion practice.

        Additionally, Plaintiffs requested documentation concerning TMO’s purchase of the

 privatized housing on MacDill Air Force Base, but have not received this documentation. The

 Parties have discussed the production of the requested purchase documentation and are currently

 working to come to an agreement regarding same.

    3. Depositions

        Counsel for Plaintiffs are working with counsel for the AMC Defendants to schedule the

 depositions of the AMC Defendants’ personnel sought by Plaintiffs.




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        Counsel for Plaintiffs have also requested mutually available dates for 10 to 12 depositions

 of witnesses of the Michaels Defendants, but, Plaintiffs have not received availability from counsel

 for the Michaels Defendants due to the TMO purchase of the MacDill base housing and changing

 of defense counsel. The Parties are working together to find mutually agreeable dates for the

 depositions requested by Plaintiffs.

    4. AMC Defendants’ ESI Document Production

        Plaintiffs have continued to receive the AMC Defendants’ rolling production of responsive

 documents. The AMC Defendants’ ESI production was substantially completed in August 2021,

 with an elusion sample set of 1,008 documents reviewed by AMC’s counsel shortly thereafter.

 Some documents remain that were coded as “Needs Further Review” and those documents

 continue to be reviewed and produced if found to be responsive.

    5. AMC Defendants Request for Plaintiffs’ Signed Medical Authorizations

        AMC Defendants subpoenaed Plaintiffs’ disclosed medical providers, as well as those

 identified in Plaintiffs’ medical records. However, in addition to the subpoena, numerous medical

 providers require executed medical disclosure authorizations from the patient. While Plaintiffs’

 counsel provided most of those authorization as of the filing of this report, several remain

 unsigned. The Parties recently discussed this issue and believe it should be resolved in the near

 future. Additionally, Defendants will provide the medical records received as a result of the

 subpoenas issued. Plaintiffs continue to provide Defendants with the medical records received

 from the named Plaintiffs’ medical providers on an ongoing basis.




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       Respectfully submitted this 18th day of October, 2021.


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